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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PAMELA WOLOSKY,                               :       Civil Action No. 2:14-cv-00804-NBF
                                              :
                       Plaintiff,             :
vs.                                           :       JURY TRIAL DEMANDED
                                              :
TRINITY AREA SCHOOL DISTRICT,                 :
PAUL KASUNICH, AMY MCTIGHE,                   :
                                              :
                        Defendants.           :

                                          ORDER

       AND NOW, this ________ day of ________________________, 2014, upon

consideration of the foregoing Motion for Leave to File a Reply to Plaintiffs’ Notice of

Supplemental Authority in Support of Plaintiff’s Response in Opposition to Defendants’ Motion

to Dismiss filed on behalf of Defendants Trinity Area School District, Dr. Paul Kasunich, and

Amy McTighe, it is hereby ORDERED, ADJUDGED and DECREED that said Motion is hereby

GRANTED.



                                           BY THE COURT:



                                                                                     J.




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